                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


 FAYETTEVILLE PUBLIC LIBRARY, et al.                                         PLAINTIFFS


          v.                                      NO. 5:23-cv-5086


 CRAWFORD COUNTY, ARKANSAS, et al.                                           DEFENDANTS


                             DECLARATION OF JOHN ADAMS

       I, John T. Adams, hereby declare under penalty of perjury as prescribed in 28 U.S.C.

§ 1746:

       1.      The facts contained in this declaration are based on my personal knowledge and I

can testify competently to them if called upon to do so. I submit this sworn declaration in support

of Plaintiffs’ Motion for Summary Judgment.

       2.      I serve as counsel to Plaintiffs Central Arkansas Library System, Nate Coulter, and

the Eureka Springs Carnegie Public Library.

       3.      Attached as Exhibit A is a true and correct copy of Jason Rapert (@jasonrapert),

X.com (Apr. 15, 2024, 10:55 AM), https://x.com/jasonrapert/status/1779931475439165655.

       4.      Attached as Exhibit B is a true and correct copy of Thomas Saccente, Crawford

County Library Board Looks to Create New A Public Comment Policy After Increased

Engagement At Meetings, Arkansas Democrat Gazette (May 14, 2023, 1:00 AM),

https://tinyurl.com/yc5w59k6.

       5.      Attached as Exhibit C is a true and correct copy of Debra Hale-Shelton, Policing

Libraries, AKA Book Banning, Moves A Step Further in Arkansas, Ark. Times (March 19, 2024,

12:36 PM), https://tinyurl.com/ejru6wsy.
I declare under penalty of perjury that the foregoing is true and correct.

Executed May 15, 2024 in Pulaski County, Arkansas.


                                        /s/ John T. Adams
                                       John T. Adams




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EXHIBIT A
EXHIBIT B
5/13/24, 4 39 PM         Crawford County Library Board looks to create new a public comment policy after increased engagement at meetings | The Arkansas Democrat Gazette Arkansas' Best News Source




    Keith Pigg, a member of the Crawford County Library Board representing the Mulberry Public Library, speaks during the
    Library Board's meeting in Alma Tuesday. (River Valley Democrat-Gazette/Thomas Saccente)




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    ALMA -- The Crawford County Library Board voted unanimously Tuesday to form a
    subcommittee to create a public comment policy amid ongoing controversy.

    The subcommittee will consist of all five board members, as well as Eva White, the
    county library system's interim director.

    Gentry Wahlmeier, an attorney for the county, said the Library Board hasn't enacted
    a public speaking policy, but people can speak during board meetings in accordance
    with Arkansas law requiring residents, at a minimum, be allowed to give input prior
    to the decision of any government body in the state.

    The board's decision came after Tammi Hamby, board chairwoman, said during the
    board's meeting March 14 that only people who provided identification showing they
    live in Crawford County could speak at the meeting.

    The county Quorum Court approved an ordinance outlining a similar procedure Feb.
    21, according to minutes from that meeting. The ordinance limits public input at
    Quorum Court meetings to county residents, people who own businesses in the
    county and people the meeting chairperson invites to speak. The chairperson may
    also challenge a speaker to provide proof of residency in the county or "other bona
    fides."

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    Permanent residents and property owners in the county, as well as people employed
    in the county and students enrolled in county schools, can get a library card for free,
    according to the library system's website. Other people can get a card for a $10
    annual fee.

    Public input and LGBTQ books

    The library board has seen dozens of people attending and speaking at its recent
    meetings. The public comment portions of these meetings, which have taken place
    near the end, have largely consisted of residents weighing in on children's books
    with lesbian, gay, bisexual, transgender, queer or questioning subject matter and
    their place in each of the library system's five branches.

    This included Tuesday's meeting, in which residents argued their perspectives with
    the board -- and each other -- for more than half an hour.

    The board dealt with challenges from residents regarding multiple books of this
    nature at its Nov. 8 meeting, according to meeting material.

    The River Valley City Elders, a local Christian community organization, requested
    people in a Dec. 13 newsletter to stand with Jeffrey Hamby -- Tammi Hamby's
    husband -- as he spoke to the Quorum Court on Dec. 19 regarding his concerns about
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    these sorts of books being purchased with taxpayer money and displayed at the Van
    Buren Public Library.

    Jeffrey and Tammi Hamby had also outlined their grievances on the subject in a
    letter dated Nov. 10 addressed to the Quorum Court, then-Crawford County Judge
    Dennis Gilstrap and current County Judge Chris Keith.

    The Hambys argued the constitutional rights of parents and their religious liberties
    were being subverted by a "progressive woke ideology" driven by Deidre Grzymala --
    director of the county Library System at the time -- and her employees. They claimed
    this reported ideology was "normalizing and equating homosexual and transsexual
    lifestyles with heterosexual family units" without parental consent or the ability to
    not participate.

    Grzymala said at the Library Board's Jan. 10 meeting all branches had moved their
    LGBTQ children's books out of the children's section into a new area within their
    respective adult book sections, according to a recording of the meeting. This came
    after the Quorum Court discussed the library and a compromise regarding the
    material at its Dec. 19 meeting.

    Going Forward

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    Board member Keith Pigg, who represents the Mulberry Public Library, said certain
    elements of the Garland County Library Board's procedures for public comments at
    its meetings could be tailored to suit Crawford County.

    One of the rules Pigg mentioned is people wishing to speak at Garland County
    meetings have to fill out a form listing their name, contact information and the
    subject they want to discuss. They then have to turn the form in to the library
    director or a board member at least one hour before the meeting.

    "This gives the board time to adjust the meeting to allow for a time of public
    comments," the procedures state. "If no forms have been turned in one hour ahead of
    the meeting, such time will not be allotted."

    Wahlmeier, the attorney for the county, said public comment sections of meetings
    generally happen before new business is discussed. In his experience, speakers are
    also limited to talking about items on the meeting agenda and usually have three to
    five minutes to do so.

    The new subcommittee is set to devise a public comment policy for consideration at
    the Library Board's next regular meeting July 11 at the Cedarville Public Library.


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     Kara McCubbin, children and youth services librarian, reads a book to families during a weekly story time event, Thursday,
    May 11, 2023, at the Alma Public Library in Alma. At a meeting on Tuesday, the Crawford County Library Board discussed
    implementing a public comment policy at its meetings, as well as the search for a new county Library System director. (River
    Valley Democrat-Gazette/Hank Layton)




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     A selection of childrens books which have been under scrutiny from community members are displayed in a designated
    section, Thursday, May 11, 2023, at the Alma Public Library in Alma. At a meeting on Tuesday, the Crawford County Library
    Board discussed implementing a public comment policy at its meetings, as well as the search for a new county Library
    System director. (River Valley Democrat-Gazette/Hank Layton)




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     A list of policies displays on the wall, Thursday, May 11, 2023, at the Alma Public Library in Alma. At a meeting on Tuesday,
    the Crawford County Library Board discussed implementing a public comment policy at its meetings, as well as the search
    for a new county Library System director. (River Valley Democrat-Gazette/Hank Layton)




    Library System Director

    The Crawford County Library Board also voted 4-0 Tuesday to expand its search for a
    new director of the county Library System to a nationwide level. Tammi Hamby said
    the board had received only one application for the position after advertising on a
    statewide level.

    The board appointed Eva White as interim director Feb. 24 after Deidre Grzymala
    left the director seat that same day as part of a separation agreement between her,
    Crawford County, the system and the Van Buren Public Library.

    Source: Crawford County Library Board




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EXHIBIT C
